      Case 6:06-cr-00026-JRH-CLR Document 1395 Filed 01/07/13 Page 1 of 2




  UNITED STATES DISTRICT COURT                     Miller-El, 537 U.S. at 336 (internal quotations
  SOUTHERN DISTRICT OF GEORGIA                     omitted).
      STATESBORO DIVISION
                                                       When the district court denies a habeas
 BOB AARON MIXELL,                                     petition on procedural grounds without
                                                       reaching the prisoner's underlying
 Petitioner,                                           constitutional claim, a COA should
                                                       issue when the prisoner shows, at least,
 V.                     6:09-cv-65                     that jurists of reason would find it
                                                       debatable whether the petition states a
 UNITED STATES OF AMERICA,
                                                       valid claim of the denial of a
 Respondent.                                           constitutional right and that jurists of
                                                       reason would find it debatable whether
                    ORDER                              the district court was correct in its
    Before the Court is Bob Aaron MikelI's             procedural ruling.
("Mikell") Notice of Appeal, see ECF No. 77,          Slack v. McDaniel, 529 U.S. 473, 484
which the Court construes as a motion for          (2000) (emphasis added).
certificate of appealability ("COA"). See
                                                         Mikell's first habeas petition was denied
Edwards v, United States, 114 F.3d 1083,
                                                    in 2009. See ECF No. 1. That denial placed
 1084 (11th Cir. 1997). Mikell seeks to appeal
                                                    MikeIl on notice that he likely would need to
the dismissal of his "Motion for a Non-
                                                    have the Eleventh Circuit certify any future
Successive § 2255 Motion," ECF Nos. 72;
                                                    petition as prescribed by 28 U.S.C. § 2255(h).
74, and denial of his motion for
                                                    See Castro v. United States, 540 U.S. 375,
reconsideration. ECF Nos. 75; 76. Mikell's
                                                    382-83 (2003). His recent motion, construed
appeal, however, raises no COA-worthy
                                                    as a second or successive habeas petition,
issues. His motion is DENIED.
                                                    could not escape § 2255(h) because the
     "Before an appeal may be entertained, a        predicate of the motion—ineffective
 prisoner who was denied habeas relief in the       assistance of counsel—arose prior to the
 district court must first seek and obtain a        filing of his first. See Stewart v. United
 COA. . - " Miller-El v. Cockrell, 537 U.S.        States, 646 F. 3d 856 (11th Cir. 2011) (finding
 322 335-36 (2003); see 28 U.S.C. § 2253(c).        second habeas petition non-successive under
The Court will issue a COA "where a                 § 2255(h) because the petition's predicate
petitioner has made a substantial showing of       arose after the first petition's adjudication).
the denial of a constitutional right." Miller-     So when Mikell came calling again, without
El, 537 U.S. at 336; see also 28 U.S.C. §          certification of his petition by the Eleventh
2253(c)(2). Petitioner "must show that             Circuit, this Court was obliged to dismiss his
reasonable jurists could debate whether (or,       petition United Slates v. Terrell, 141 Fed.
for that matter, agree that) the petition should   App'x 849, 852 (11th Cir. 2005). The Court
have been resolved in a different manner or        denied Mikell's motion for reconsideration
that the issues presented were adequate to         for similar reasons. See ECF No. 76.
deserve encouragement to proceed further."
     Case 6:06-cr-00026-JRH-CLR Document 1395 Filed 01/07/13 Page 2 of 2




    No reasonable jurist. would decide
differently. See Slack, 529 U S at 484
Mikell filed one habeas petition 1-ic then
sought to file another. That numerically
second petition did not qualify as a legally
non-successive petition Nor did Mikefl have
the second petition certified None of those
points is legally or factually debatable..And
therefore no COA. should-issue.
     Mikell's implied request lot a COA is
DENIED        The Clerk is DIRECTED to
forward a copy of this Order and a copy of the
docket sheet page reflecting entry at the same
to the Clerk of Court for the 'Eleventh Circuit
for inclusion with Appeal Number 12-16523-
A.


This •., day of.January, 2013.



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UNITED STATES DISUU( I CLRT
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SOUTHERN DISTRICT OF GORG1A
